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11
12                              UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
14    JONATHAN HOANG TO, individually                           Case No 3:24-CV-06447-WHO
      and on behalf of all others similarly
15    situated,                                                 DEFENDANT’S RESPONSE IN
                                                                OPPOSITION TO MOTION TO
16                                                              INTERVENE AND TO DISMISS,
                               Plaintiﬀ,                        OR ALTERNATIVELY TO
17                                                              TRANSFER OR STAY
18    v.                                                        L.R. 6-2
19                                                              Current Hearing Date:
      DIRECTTOU, LLC, a Delaware                                      12/18/24
20    Limited Liability Company                                 New Hearing Date:
                                                                      12/04/24
21                                Defendant.
22
23
24
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28

        DEFENDANT’S RESPONSE IN OPPOSITION TO MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY TO TRANSFER
                                                                                   OR STAY - CLASS ACTION COMPLAINT
                                                                                        CASE NO 3:24-CV-06447-WHO
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       DEFENDANT’S RESPONSE IN OPPOSITION TO MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY TO TRANSFER
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 1                                            INTRODUCTION
 2           Proposed Intervenors fail to satisfy the requirements for intervention as of
 3   right, and permissive intervention should be denied. They have no protectable
 4   interest in participating in preliminary approval proceedings that will not determine
 5   their rights. Specifically, to the extent they have an interest in the terms of the
 6   settlement, they will be able to protect it through the ordinary process of opt-outs
 7   and objections afforded all putative settlement class members under Rule 23 and the
 8   settlement agreement itself. If Proposed Intervenors find the terms undesirable, they
 9   are free to opt-out of the settlement.                   And, if Proposed Intervenors wish to
10   participate, but find the terms unreasonable, they are free to file their objections to
11   the settlement – just like any other putative settlement class member.
12           Moreover, Proposed Intervenors have failed to overcome the presumption that
13   Plaintiff and Plaintiff’s counsel in this action are adequate representatives. As
14   explained in Plaintiff’s Motion for Preliminary Approval, the terms of the settlement
15   are well within the range of court-approved Video Privacy Protection Act (“VPPA”)
16   class settlements. Tellingly, Proposed Intervenors sought to intervene and oppose
17   the settlement as purportedly unfair before the terms of the Settlement even became
18   public and have not explained why the terms of the settlement are not fair and
19   reasonable. Accordingly, it is apparent that the proposed intervention is not about
20   protecting interests of any putative settlement class, but rather, about protecting
21   Proposed Intervenors’ individual interests – which they will have the right to
22   exercise when deciding whether to opt-out or file an objection to the settlement.
23           Proposed Intervenors represent only themselves at this juncture and are
24   putative settlement class members. They can raise their objections to the settlement,
25   if any, in the ordinary course provided under Rule 23 and as set forth in the class
26   settlement agreement. Or, if they prefer, they can opt-out of the settlement altogether
27   and resume prosecution of their individual claims. Proposed Intervenors’ untimely
28   and unnecessary motion to intervene should be denied.

                                                          1
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 1                                             BACKGROUND
 2           On August 12, 2024, Plaintiff Jonathan Hoang To (“Plaintiff”) filed this action
 3   in the Superior Court of California, County of Alameda, asserting a violation of the
 4   VPPA, as well as violations of California’s state analog to the VPPA, Cal. Civ. Code
 5   § 1799.3 and California’s Business & Professional Code § 17200 et seq.
 6           On September 12, 2024, Defendant removed this action to the Northern
 7   District of California. On September 18, 2024, Defendant informed the Court of the
 8   pendency of Feller et al. v. Alliance Entertainment, LLC, et al., Case No. 0:24-CV-
 9   61444-RAR (S.D. Florida) as the basis for seeking an extension of time to respond
10   to the complaint, which was granted. ECF 8-9.
11           On October 23, 2024, the parties executed a class action settlement agreement
12   and informed Proposed Intervenors that a settlement had been reached on October
13   24, 2024.
14           On October 28, 2024, Proposed Intervenors Douglas Feller, Jeffry Heise, and
15   Joseph Mull, who are plaintiffs in Feller et al. v. Alliance Entertainment, LLC, et al.,
16   Case No. 0:24-CV-61444-RAR (S.D. Florida) (“Proposed Intervenors”), filed a
17   Motion to Intervene and to Dismiss or alternatively, Transfer this case to the
18   Southern District of Florida or Stay (“Motion to Intervene”). ECF 14. To date, no
19   class has been certified in the Feller Action nor have Proposed Intervenors moved
20   for class certification.
21           On November 4, 2024, Plaintiff filed his unopposed Motion for Preliminary
22   Approval of the class action settlement in this action. ECF 26.
23                                          LEGAL STANDARD
24           Intervention by members of a putative class is subject to the ordinary
25   requirements of Federal Rule of Civil Procedure 24. See Fed. R. Civ. P. 24(a)(2).
26   The party seeking intervention bears the burden of demonstrating that Rule 24 is
27   satisfied. U.S. v. Alisal Water Corp., 370 F.3d 915, 919 (9th Cir. 2004). Unless a
28   would-be party satisfies Rule 24(a)’s requirements for intervention as of right, the

                                                          2
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 1   decision to allow intervention under Rule 24(b) is almost purely discretionary.
 2   Orange Cnty. v. Air Cal., 799 F.2d 535, 539 (9th Cir. 1986).
 3           The Ninth Circuit has adopted a four-part test for intervention as of right under
 4   Rule 24(a)(2). Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003). “A party
 5   seeking to intervene as of right must meet four requirements: (1) the applicant must
 6   timely move to intervene; (2) the applicant must have a significantly protectable
 7   interest relating to the property or transaction that is the subject of the action; (3) the
 8   applicant must be situated such that the disposition of the action may impair or
 9   impede the party's ability to protect that interest; and (4) the applicant's interest must
10   not be adequately represented by existing parties.” Id. Each element is mandatory,
11   and failure to establish any one is grounds to deny intervention. See Smith v. Marsh,
12   194 F.3d 1045, 1049-50 (9th Cir. 1999). Permissive intervention under Rule 24(b)
13   likewise requires a timely motion. Donnelly v. Glickman, 159 F.3d 405, 412 (9th
14   Cir. 1998). More fundamentally, however, decisions on permissive intervention are
15   always discretionary. Orange Cnty., 799 F.2d at 539. In exercising that discretion,
16   the Court must consider whether intervention will cause undue delay for the original
17   parties. Fed. R. Civ. P. 24(b)(3).
18                                               ARGUMENT
19   I.      Proposed Intervenors Do Not Satisfy The Requirements For Intervention
20
             As of Right

21           A. Proposed Intervenors’ Motion Is Untimely.
22           The Motion to Intervene is not timely. The court determines timeliness by
23   evaluating three factors: “(1) the stage of the proceeding at which an applicant seeks
24   to intervene; (2) the prejudice to other parties; and (3) the reason for and length of
25   the delay.” Zepeda v. PayPal, Inc., No. 10CV02500SBAJCS, 2014 WL 1653246,
26   at *3 (N.D. Cal. Apr. 23, 2014), objections overruled, No. C 10-1668 SBA, 2014
27   WL 4354386 (N.D. Cal. Sept. 2, 2014).
28

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 1           Proposed Intervenors were aware or should have been aware of this action
 2   when it was filed and did not take any action to intervene until the action had been
 3   pending for months and after the action had settled. In early September, Defendant’s
 4   counsel conferred with Proposed Intervenors’ counsel and suggested scheduling a
 5   global mediation to resolve this pending action along with the Feller Action. Ex. A,
 6   Decl. of Bonnie DelGobbo ¶¶ 4, 6. Proposed Intervenors rejected that proposal (id.
 7   ¶ 6) and did not take any action at that time to intervene in this case. Accordingly,
 8   Proposed Intervenors mediated the Feller Action while fully aware that this parallel
 9   action was still proceeding in their absence. In short, Proposed Intervenors sat on
10   whatever rights they might otherwise have had to intervene until after the action
11   settled and, by so doing, rendered their belated motion untimely.1
12           This situation is similar to Lane v. Facebook, Inc., No. C 08-3845 RS, 2009
13   WL 3458198, at *3 (N.D. Cal. Oct. 23, 2009). In Lane, the parties reached a class
14   settlement in a putative VPPA class action for which they were seeking preliminary
15   approval when the named plaintiffs in another out-of-district putative VPPA class
16   action filed a motion to intervene only after the settlement had been reached – which
17   was untimely. As the court explained, “[w]hatever rights or interests Proposed
18   Intervenors may have had in enforcing a first-filed rule, those rights and interests (if
19   any) necessarily arose the moment this action was filed, and were known or should
20   have been known to Proposed Intervenors when they learned of the very existence
21   of this lawsuit.” Lane v. Facebook, Inc., No. C 08-3845 RS, 2009 WL 3458198, at
22   *3 (N.D. Cal. Oct. 23, 2009)(emphasis in original).
23
24   1
       The declaration submitted by Proposed Intervenors’ counsel asserts that he began
25
     investigating alleged VPPA claims against Defendant in 2019—five years before
     Proposed Intervenors filed their case. If that assertion is true, it underscores the issue
26   of untimeliness because challenged practices were allowed to continue for five years
27
     without alerting Defendant to any allegation of unlawfulness. Moreover, the statute
     of limitations on VPPA claims is two years.
28

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 1            In addition to the passage of time, the stage of the proceedings renders the
 2    Motion to Intervene untimely. Indeed, the Ninth Circuit has explained that, “a
 3    party’s seeking to intervene merely to attack or thwart a remedy rather than
 4    participate in the future administration of the remedy is disfavored.” Alisal Water
 5    Corp., 370 F.3d at 922 (affirming denial of motion to intervene by judgment creditor
 6    where creditor sought to intervene to contest a possible award of damages to the
 7    plaintiff in the action). Here, Proposed Intervenors – who represent only themselves
 8    at this juncture – seek to intervene to effectively contest the class settlement
 9    agreement, thereby prejudicing the putative settlement class by delaying their receipt
10    of notice of the settlement and substantial relief provided them under the settlement.
11            Because Proposed Intervenors have not shown that the Motion to Intervene is
12    timely, this necessary element has not been satisfied and the Motion to Intervene
13    should be denied.
14            B. Proposed Intervenors Need Not Intervene to Protect Their Interest in
15
                 a Fair Settlement

16            Proposed Intervenors have not identified any “significantly protectable
17    interest” that would be impaired if they cannot participate at the preliminary
18    approval stage. To intervene as of right, Proposed Intervenors must identify both a
19    “significantly protectable interest,” and articulate why intervention is necessary to
20    protect it. See Arakaki, 324 F.3d at 1083. In their Motion, Proposed Intervenors
21    appear to assert an interest in the ultimate outcome of this litigation, but fail to show
22    that protecting it requires an opportunity to separately oppose preliminary approval
23    of the class action settlement.
24            First, Proposed Intervenors do not identify a protectable interest to justify their
25    intervention at this juncture. Indeed, there is no “significantly protectable interest
26    incumbent in an opportunity to object to preliminary approval,” because “the Court
27    will make its determination as to whether final approval should be granted based on
28    the facts and law before it at that point in time . . . and [will] not be influenced by

                                                           5
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 1    previously granted preliminary approval.” Lane, 2009 WL 3458198, at *5 (emphasis
 2    added); see also Davis v. J.P. Morgan Chase & Co., 775 F. Supp. 2d 601, 607
 3    (W.D.N.Y. 2011) (noting that preliminary approval, “in contrast to final approval,
 4    ‘is at most a determination that there is what might be termed ‘probable cause’” to
 5    give class members’ notice and hold a “full-scale” fairness hearing). It is no
 6    coincidence that there is “no Civil Local Rule, Federal Rule of Civil Procedure, or
 7    other authority that permits a putative class member to file objections to a motion
 8    for preliminary approval.” Chavez v. PVH Corp., No. 13-cv-01797-LHK, 2015 WL
 9    12915109, at *3 (N.D. Cal. Aug. 6, 2015).
10            Indeed, “[t]he Ninth Circuit recognizes in the class action settlement context,
11    a putative intervenor's concerns may ‘largely be addressed through the normal
12    objection process.’” Raquedan v. Centerplate of Delaware Inc., 376 F. Supp. 3d
13    1038, 1041–42 (N.D. Cal. 2019)(citing Allen v. Bedolla, 787 F.3d 1218, 1222 (9th
14    Cir. 2015); see also Devlin v. Scardelletti, 536 U.S. 1, 14, 122 S.Ct. 2005, 153
15    L.Ed.2d 27 (2002) (explaining that “class action procedure allows nonnamed class
16    members to object to a settlement at the fairness hearing without first intervening”).);
17    see also Perkins v. Ryder Integrated Logistics, Inc., No. 23-CV-00502-WHO, 2023
18    WL 8481817, at *2 (N.D. Cal. Dec. 7, 2023)(denying intervention and explaining
19    that The central themes of these cases is that intervention is not appropriate where
20    the ability of the proposed intervenor can be protected by the options to opt-out of
21    or object to the proposed settlement. These are adequate mechanisms for Nance to
22    challenge the fairness and adequacy of any proposed settlement and protect her own
23    interests here. Zepeda v. PayPal, Inc., 2014 WL 1653246, at *4, 8 (N.D. Cal. Apr.
24    23, 2014) (“Allowing the Putative Interveners to opt out or object to the settlement
25    in the fairness hearings would be far less disruptive than allowing them to intervene,
26    and it would still preserve their interests.”); Harvey v. Morgan Stanley Smith Barney
27    LLC, No. 18-CV-02835-WHO, 2019 WL 9441672, at *3 (N.D. Cal. Sept. 5, 2019)(J.
28    Orrick)(denying motion to intervene by putative class member, explaining that

                                                           6
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 1    “Intervention is also unnecessary to protect the interest of the Proposed Intervenors.
 2    Lucadano is a class member. He may object or opt out.”), aff'd, No. 19-16955, 2022
 3    WL 3359174 (9th Cir. Aug. 15, 2022).
 4            Here, the settlement agreement expressly provides the Proposed Intervenors
 5    with opt-out rights, and the Proposed Intervenors also have the ability to object to
 6    the settlement. ECF 26-2 at ¶¶4.2 – 4.5. Accordingly, Proposed Intervenors’ alleged
 7    interests are sufficiently protected. See, e.g., Bergman v. Thelen LLP, No. C-08-
 8    05322 EDL, 2009 WL 1308019, at *2 (N.D. Cal. May 11, 2009) (“The disposition
 9    of the action will not, as a practical matter, impede or impair applicants’ ability to
10    protect their interest[,]” and they “may opt of the class action and assert any claims
11    they wish to pursue against Defendants.”); Cohorst v. BRE Properties, Inc., No. 10-
12    cv-2666 JM (BGS), 2011 WL 3475274, at *6 (S.D. Cal. Aug. 5, 2011)(denying
13    intervention motion where proposed intervenor “may raise any objections to the
14    settlement at the time of the Final Hearing[]”).
15            C. Existing Parties Adequately Protect Proposed Intervenors’ Interests
16            Proposed Intervenors fail to show that their protectable interest is not
17    adequately represented by the existing parties. A “presumption of adequacy of
18    representation arises” when the “applicant for intervention and an existing party
19    have the same ultimate objective.” Arakaki, 324 F.3d at 1086. Proposed Intervenors
20    and named Plaintiffs have the same objective: obtaining relief for the purported
21    harms they allegedly experienced as a result of Defendant’s alleged disclosure of PII
22    under the VPPA. Compare ECF 23 (Second Am. Compl.) with ECF 14 (Feller
23    Action Compl.). Specifically, Plaintiff has brought this action on behalf of the
24    following putative nationwide class and California sub-class:
25    Nationwide Class
26                    All natural persons residing in the United States who
27                    purchased a video or videogame from Defendant or signed
28

                                                           7
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 1                    up to receive notices about videos or videogames from
 2                    Defendant, and about whom information which identified
 3                    such persons as having requested or obtained specific
 4                    video materials or services from Defendant may have been
 5                    disclosed to a third party, including, but not limited to,
 6                    Meta.
 7    California Sub-Class
 8                    All natural persons residing in California who purchased a
 9                    video or videogame from Defendant or signed up to
10                    receive notices about videos or videogames from
11                    Defendant, and about whom information which identified
12                    such persons as having requested or obtained specific
13                    video materials or services from Defendant may have been
14                    disclosed to a third party, including, but not limited to,
15                    Meta.
16    ECF 23 at ¶¶69-70.
17            The putative classes in this action encompass the putative class alleged in the
18    Feller Action:
19                    (a) The Data Brokerage Class: All persons in the United
20                    States who, during the two years preceding the filing of
21                    this action, purchased prerecorded video material from
22                    Defendants and had their Private Viewing Information
23                    disclosed to a third-party by Defendant.
24                    (b) The Meta Pixel Class: All persons in the United States
25                    who, during the two years preceding the filing of this
26                    action purchased prerecorded video material from
27                    Defendants’ website while maintaining an account with
28                    Meta Platforms, Inc. f/k/a Facebook, Inc.

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        DEFENDANT’S RESPONSE IN OPPOSITION TO MOTION TO INTERVENE AND TO DISMISS, OR ALTERNATIVELY TO TRANSFER
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 1    ECF 14 at ¶85.
 2            First, there is a presumption of adequate representation when “the persons
 3    attempting to intervene are members of a class already involved in the litigation or
 4    are intervening only to protect the interests of class members.” Bergman, 2009 WL
 5    1308019, at *2 (internal quotation omitted). This presumption can only be rebutted
 6    with a “compelling showing” to the contrary. Arakaki, 324 F.3d at 1086. Proposed
 7    Intervenors have made no such showing, because they offer no “evidence of
 8    collusion, nonfeasance, adversity of interest, incompetence, or lack of financial
 9    resources.” In re Cloudera, Inc. Secs. Litig., No. 5:19-CV-03221-LHK, 2021 WL
10    1238301, at *2-3 (N.D. Cal. Apr. 2, 2021) (internal quotation omitted).
11            Courts in this District have denied intervention where putative class members
12    in parallel pending cases seek to intervene and oppose preliminary approval of a
13    class settlement by launching baseless accusations of “collusion.” See, e.g., Kang v.
14    Wells Fargo Bank, N.A., No. 17-CV-06220-BLF, 2021 WL 4170735, at *4 (N.D.
15    Cal. Sept. 14, 2021), aff’d sub nom. Kang v. Fyson, No. 22-15694, 2022 WL
16    6943174 (9th Cir. Oct. 12, 2022) (denying intervention despite contention that
17    “intervention is required to permit him to raise and explore the impact of a
18    supposedly secret side deal,” as proposed intervenor did not adequately explain why
19    intervention was not sought earlier nor “why the [ ] issue cannot be addressed
20    through ‘the normal objection process.’ ”); Perkins v. Ryder Integrated Logistics,
21    Inc., No. 23-CV-00502-WHO, 2023 WL 8481817, at *1 (N.D. Cal. Dec. 7, 2023).
22    Contrary to Proposed Intervenor’s imagined “collusion” between the parties, the
23    reality is that the plaintiff in the Hoang To Action made the opening settlement
24    demand without any input or suggestion of valuation from Defendants, at no time
25    during the negotiation of settlement valuation did Defendants tell the Hoang To
26    plaintiff’s firm that Defendants had engaged in any settlement discussions in the
27    Feller case, and at no time during these settlement negotiations did Defendants tell
28    the Hoang To plaintiff’s firm any settlement figures that Defendants had exchanged

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 1    with the Feller plaintiffs’ firm. DelGobbo Decl. at ¶¶8-10. Defendants conducted
 2    settlement negotiations with the Hoang To Plaintiff at arms-length and they were
 3    able to reach a resolution after exchanging multiple monetary and non-monetary
 4    positions. Id. at ¶¶8-9. Just because Plaintiffs in the Feller action were unable to
 5    reach their own settlement agreement with Defendants does not give rise to an
 6    inference that anyone else capable of negotiating a settlement must have “colluded.”2
 7            Moreover, Proposed Intervenors falsely imply that there had been “significant
 8    discovery” in the Feller action prior to culmination of the settlement agreement in
 9    Hoang To on October 23, 2024. (ECF No. 14 at 23.) However, the reality is that the
10    parties had agreed to stay discovery pending the mediation, and no discovery
11    responses were due from either side until after settlement had been reached. Ex. B,
12    10/10/2024 Email from A. Ravindran. Moreover, no response to the Complaint in
13    either case had yet been filed.
14
15    2
        Proposed Intervenors’ reliance on Rahman v. Gate Gourmet, Inc., No. 3:20-CV-
16
      03047-WHO, 2021 WL 5973046, at *5 (N.D. Cal. Nov. 22, 2021) is misplaced.
      First, Rahman did not grant a motion to intervene. Rather, the Court merely lifted a
17    stay previously agreed upon between the parties to allow the California state court
18
      an opportunity to assess the plaintiff’s efforts to intervene and challenge to a class
      settlement pending in state court. After the state court judge directed the parties to
19    seek this Court’ guidance as to whether the case should proceed, this Court granted
20    the plaintiff’s motion to lift the stay. The Court noted, however, that the state court
      judge – before whom the motion for preliminary approval of the class settlement
21    was pending – was “better positioned than I to assess the concerns about collusion
22    that I have raised.” Here, Judge Ruiz in the Feller Action has administratively closed
      that matter so this Court may decide the motions to intervene and motion for
23    preliminary approval pending before it. Unlike Rahman, the preliminary approval
24    motion and the Proposed Intervenors objections to the settlement are before this
      Court, which should be addressed in the normal course through the objection process
25    afforded putative class members under Rule 23. Moreover, as explained supra, there
26    was no collusion in reaching the settlement in this matter – which was well within
      the valuation range of VPPA class settlements.
27
28

                                                          10
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 1            At most, Proposed Intervenors suggest that the settlement – the terms of which
 2    they had not even reviewed at the time they filed their motion to intervene – might
 3    contain settlement provisions with which they disagree, but “[a]dequacy of
 4    representation does not turn on whether an existing party will litigate the case ‘in the
 5    exact manner’ that a putative intervenor would if they controlled the litigation.” Id.
 6    at *3 (citing Perry v. Proposition 8 Official Proponents, 587 F.3d 947, 954 (9th Cir.
 7    2009)).
 8            Second, the Settlement is fair and reasonable on its face, as Plaintiff explains
 9    in detail in the Memorandum in Support of Preliminary Approval, see ECF 26.
10    Proposed Intervenors largely ignore that analysis, which Defendant incorporates
11    herein by reference.           Indeed, the Settlement’s terms are comparatively more
12    favorable in the aggregate than many VPPA settlements that have received final
13    approval. See ECF 26 at 21-23. Moreover, Settlement’s terms are particularly fair
14    to the Proposed Intervenors in light of the strength of Defendant’s defenses to their
15    claims and against class certification. See ECF 26 at 13-21.
16    II.     Proposed Intervenors Should Not Be Granted Permissive Intervention
17
              Pursuant to Rule 24(b).

18            This Court should also deny permissive intervention for similar reasons.
19    Timeliness is also a threshold requirement under Rule 24(b), and the Ninth Circuit
20    has explained that it is analyzed “more strictly” in that context than under Rule 24(a).
21    Wilson, 131 F.3d at 1308. Because Proposed Intervenors’ motion is untimely, see
22    supra 3-5, the Court need not go further in order to deny it. But in any case,
23    permissive intervention is further inappropriate here because it would “‘unduly delay
24    or prejudice adjudication of the original parties’ rights’” for the reasons explained
25    above. See Cody v. SoulCycle, Inc., No. CV 15-06457-MWF (JEMx), 2017 WL
26    8811114, at *5 (C.D. Cal. Sept. 20, 2017) (denying permissive intervention where
27    the request is “not timely and risks compromising or postponing final settlement”).
28    Notably, upon learning that a class settlement had been reached and before even

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 1    inquiring of the terms of the settlement, Proposed Intervenors’ counsel stated that he
 2    would “file appeal after appeal,” “tie up these cases for years,” and drive up defense
 3    costs. Ex. A, Decl. of Bonnie DelGobbo ¶10. Permitting intervention by individuals
 4    whose stated intention is to cause delay and pursue a vindictive vendetta is not in
 5    anyone’s best interest – much less the best interest of the settlement class.
 6                                               CONCLUSION
 7            Proposed Intervenors have not carried their burden to intervene.                             Their
 8    objections should be heard through the ordinary settlement class member objection
 9    process specified in the settlement agreement, not by way of a belated and disruptive
10    attempt at intervention. The Court should deny Proposed Intervenors’ Motion to
11    Intervene.
12 Dated: November 12, 2024                    BAKER & HOSTETLER LLP
13
14                                             By: /s/Bonnie DelGobbo
15                                                 Bonnie DelGobbo
16                                                      Attorneys for Defendant
                                                        DIRECTTOU, LLC
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